        Case 2:14-cv-02423-KJM-AC Document 138 Filed 09/29/17 Page 1 of 3


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17                             UNITED STATES DISTRICT COURT
18                     FOR THE EASTERN DISTRICT OF CALIFORNIA

19
     CALIFORNIA BAJA INSURANCE               Case No.: 2:14-cv-02423-KJM-AC
20   SERVICES, INC.,
21                                           STIPULATION AND ORDER DISMISSING
                 Plaintiff,
                                             COMPLAINT WITH PREJUDICE
22         v.
                                             Hon. Kimberly J. Mueller
23   SHANZE ENTERPRISES, INC., n/k/a
     PLANO INSURANCE GROUP, INC.;
24   CONFIE INSURANCE GROUP HOLDINGS,
     INC.; CONFIE SEGUROS TEXAS, INC.; and
25   CONFIE SEGUROS, INC.                    Complaint Filed: October 15, 2014
26
                 Defendants.
27

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      STIPULATION AND ORDER DISMISSING COMPLAINT AND COUNTERCLAIMS WITH PREJUDICE
        Case 2:14-cv-02423-KJM-AC Document 138 Filed 09/29/17 Page 2 of 3



 1                                         STIPULATION
 2         1.     WHEREAS the parties have reached a Settlement of the Claims in this
 3   Action and have entered into a formal written Settlement Agreement regarding the
 4   same; and
 5         2.     WHEREAS the parties have agreed as part of the Settlement Agreement
 6   that the Claims alleged in this Action shall be dismissed with prejudice;
 7         IT IS HEREBY STIPULATED AND AGREED by the parties through their
 8   respective attorneys of record:
 9         This entire action, including all Claims, is DISMISSED WITH PREJUDICE
10   pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) with each party to bear its own attorney’s
11   fees and costs.
12         3.     Pursuant to the parties’ Settlement Agreement, this Court shall retain
13   jurisdiction to enforce the terms of the agreement applicable to this action.
14
      Dated: September 29, 2017             LAW AND MEDIATION OFFICES OF
15                                          ELIZABETH YANG
16                                             /s/ Elizabeth Yang         .
                                              Elizabeth Yang
17                                            Attorney for BISI
18
     Dated: September 29, 2017              MICHELMAN & ROBINSON LLP
19
                                                /s/ Jan Weir
20                                            Sanford L. Michelman
                                              Jan P. Weir
21                                            Kathrine J. Brandt
                                              Robert D. Estrin
22                                            Attorneys for Defendants Confie
                                              Insurance Group Holdings, Inc.; Confie
23                                            Seguros Texas, Inc.; and Confie
                                              Seguros, Inc.
24
      Dated: September 29, 2017             WILSON ELSER MOSKOWITZ et al.
25
                                              /s/ Valeri C. Williams          .
26                                           Valeri C. Williams
                                             Attorney for Plano
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      STIPULATION AND ORDER DISMISSING COMPLAINT AND COUNTERCLAIMS WITH PREJUDICE
        Case 2:14-cv-02423-KJM-AC Document 138 Filed 09/29/17 Page 3 of 3



 1
                                         ORDER
           The above-captioned parties have stipulated to DISMISSAL WITH
 2
     PREJUDICE of all claim and counter-claims in this action. This entire action is
 3
     therefore DISMISSED WITH PREJUDICE pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).
 4
     Each party to bear its own attorney’s fee and costs. All pending trial, motion and
 5
     hearing dates are hereby VACATED.
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           IT IS SO ORDERED.
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     Date: ______________________        ________________________________________
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                                              KIMBERLY J. MUELLER
13                                         UNITED STATES DISTRICT JUDGE
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      STIPULATION AND ORDER DISMISSING COMPLAINT AND COUNTERCLAIMS WITH PREJUDICE
